  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 1 of 21 PageID #:1800




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION

MICHAEL PRESTON and PENELOPE                           )
TURGEON, on behalf of themselves and                   )
all others similarly situated,                         )
                                                       )       No. 22-cv-01777
               Plaintiff,                              )
                                                       )
       v.                                              )
                                                       )
AMERICAN HONDA MOTOR CO., INC.,                        )
                                                       )
               Defendant.                              )

                    SECOND AMENDED CLASS ACTION COMPLAINT

       NOW COME the Plaintiffs, MICHAEL PRESTON AND PENELOPE TURGEON, and

for their Complaint against Defendant, AMERICAN HONDA MOTOR CO., INC. (“AHM”), and

on behalf of all other similarly situated Illinois consumers, Plaintiffs state as follows:

                                  PREFATORY STATEMENT

       1.      Plaintiffs Michael Preston and Penelope Turgeon, both residents of the State of

Illinois, bring this matter on behalf of a proposed class of similarly situated Illinois consumers

against Defendant AHM.

       2.      This matter was originally filed in the Northern District of Illinois (N.D. Ill. Case

No. 17-cv-03549) but transferred to the Central District of California (C.D. Cal. Case No. 2:18-

cv-0003) upon AHM’s motion. The case was re-assigned to Judge Manuel L. Real and he

dismissed Preston and Turgeon’s First Amended Complaint. The Ninth Circuit Court of Appeals

reversed in part Judge Real’s decision, remanding the matter for further proceedings after finding

the Plaintiffs should have been granted leave to amend.




                                                  1
   Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 2 of 21 PageID #:1801




        3.     The case was eventually re-assigned to Judge Virginia A. Phillips and on April 5,

2022, Judge Phillips granted Plaintiffs’ motion to transfer back to the Northern District of Illinois,

with the understanding that Plaintiffs’ claims would be consolidated with the already pending

matter of Caracci v. American Honda Motor Co., Inc., N.D. Ill. Case No. 19-cv-2796.

        4.     Plaintiffs will be filing a motion to consolidate No. 22-cv-01777 with No. 19-cv-

2796.

        5.     Upon remand and the transfer back to Plaintiffs’ home venue, Plaintiffs now allege

the following violations of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

ILCS 505/2 (“ICFA”).

                                JURISDICTION AND PARTIES

        6.     Plaintiff Michael Preston is an Illinois consumer, residing in Lake County, Illinois.

        7.     Plaintiff Penelope Turgeon is an Illinois consumer, residing in Cook County,

Illinois.

        8.     Defendant AHM is a corporation engaged in the advertisement, sale, supply,

warranty, and distribution of motor vehicles and related equipment and services. AHM supplies

its products and services to the public through a system of authorized dealerships and service

centers.

        9.     Through this authorized network of dealerships and service centers, AHM, (a)

markets and sells vehicles on a widespread basis to Illinois residents, and (b) authorizes or rejects

warranty repairs on those vehicles throughout the State of Illinois.

        10.    AHM conducts substantial business within this district and Plaintiffs acquired,

maintained, and repaired their Honda vehicles in this district.        AHM’s representations and




                                                  2
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 3 of 21 PageID #:1802




omissions were made in this district and occurred through AHM’s authorized dealerships located

within this district.

         11.    AHM is warrantor under the Honda New Vehicle Limited Warranty (“NVLW”)

distributed with Plaintiffs’ and the proposed class members’ Honda vehicles at the time of sale or

lease.

         12.    AHM operates and maintains a support line for service technicians at AHM’s

authorized dealership service centers. AHM monitors this support line to identify market quality

issues with specific Honda vehicles or parts.

         13.    AHM sells and distributes OEM and repair/replacement parts from various

suppliers to authorized Honda dealerships, including parts used to fix vehicles brought in after sale

or lease for repair.

                           GENERAL FACTUAL ALLEGATIONS

         14.    AHM engaged in deceptive and/or unfair practices under the ICFA when it: (a)

failed to warn its vehicle consumers of the safety hazard and unexpected expense that could result

from a rodent chewing through vehicle wiring; (b) knew that rodent wire damage had caused

serious vehicle malfunctions based upon reports from its authorized dealership service centers and

its own customer relations management software and support line for service technicians; (c) knew

from its wire harness suppliers that rodents would be deterred from chewing wiring that was pre-

wrapped in rodent deterrent tape; (d) knew that specific wire harnesses were more attractive to

rodents and more likely to be chewed but also, knew that rodent access to the engine compartment

and these specific subharnesses was a widespread market problem; and (e) nonetheless, had

directed certain (but not all) suppliers to pre-wrap only a knock sensor harness in limited select




                                                 3
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 4 of 21 PageID #:1803




models with rodent deterrent tape, despite other harnesses being of similar exposure and similar

danger of being chewed.

       15.     AHM engaged in deceptive and/or unfair practices under the ICFA when it failed

to warn consumers of the known safety hazard described above even though AHM knew that: (a)

when rodent damage to wires occurred, AHM would consider the matter an “act of nature” so that

it would not be deemed a warrantable repair; (b) it sold “Honda 4019-2317 Rodent Tape” (“Rodent

Tape”) and recommended consumers purchase Rodent Tape to cover the wiring but only after the

vehicle was in for a non-warranted repair; and (c) rejected warranty coverage for the repairs.

       16.     When rodents eat through the wire harnesses which are associated with the

vehicle’s power steering system, the wires are exposed and damaged, ultimately resulting in

vehicle malfunctions, check engine light illumination, and in some instances, a total loss of power

steering.

       17.     AHM’s Rodent Tape is designed to safely wrap around engine compartment vehicle

wiring as extra wire insulation and is made with a proprietary blend of spicy flavorings that AHM

claims will deter rodents. However, disclosure of the consumer’s need for Rodent Tape is only

made after the vehicle is sold, malfunctions, brought in for repairs, and AHM denies warranty

coverage.

       18.     AHM has unfairly refused to warrant its vehicles when rodent damage occurs and

declines coverage for the required repairs and/or replacement parts, deeming the damage an “act

of nature” that is expressly excluded under its warranty. However, a rodent or other animal being

able to access critical wiring components to chew, ultimately causing damage to the vehicles is

not an “act of nature” as that term is commonly defined (i.e., “An extraordinary and unexpected

natural event, such as hurricane, tornado, earthquake, fire, flood which results in damage



                                                4
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 5 of 21 PageID #:1804




to assets.”) AHM possessed frequent reports of rodent chewing incidents, its parent company had

engaged in countermeasure analysis and study, and AHM had even paid dealerships warranty

funds for rodent-damaged vehicles.

       19.     AHM fails to disclose at the time of sale that Honda vehicle wire harnesses are

known to be susceptible to rodent attack and should be covered in Rodent Tape to deter chewing

and protect critical vehicle wiring under the front hood. AHM also fails to disclose at the time of

sale that any wire harness repair or replacement required due to rodent damage will never be

covered under warranty because AHM incorrectly deems it an “act of nature.”

       20.     AHM fails to disclose at the time of sale that failure to deter rodents can cause both

a vehicle safety hazard to emerge and unexpected additional costs to the consumer.

        FACTUAL ALLEGATIONS REGARDING PRESTON AND TURGEON’S
                   VEHICLE ACQUISITION AND REPAIR

       21.     On or about June 23, 2015, Plaintiff Michael Preston leased a 2015 Honda Accord,

VIN 1HGCR2F80FA203311, at Muller Honda in Highland Park, Illinois for an agreed upon price

of $25,381.28, inclusive of all collateral charges.

       22.     Preston obtained his Accord for general personal, family and household use.

       23.     Preston viewed materials at the dealership that promoted AHM’s 3-year/36,000

mile NVLW.       These materials included a vehicle window sticker, dealership signage, and

paperwork included in his deal jacket.

       24.     Preston relied on AHM’s NVLW – and the absence of any warning regarding

rodent incidents – as an assurance of quality and promise that covered parts would be protected by

the warranty. In fact, Preston relied on AHM’s written statements regarding the length and

duration of the NVLW when deciding to purchase the subject vehicle. Preston also relied on

Defendant’s written statements that every new Honda vehicle was covered by the NVLW

                                                  5
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 6 of 21 PageID #:1805




(excepting the tires, which are separately warranted by the tire manufacturer), meaning that the

wire harnesses associated with the vehicle’s power steering system and contained within the engine

compartment are covered parts.

       25.     In November of 2016, within the 3-year/36,000 mile AHM NVLW period,

Preston’s Accord lost power steering.

       26.     Preston’s Accord was brought back to Muller Honda for service.

       27.     On or about November 8, 2016, Muller Honda provided Preston with a repair

invoice totaling $2146.16. Muller Honda advised Preston that power steering components had

been chewed through by a rodent and the power steering rack had to be replaced:




       28.     Muller Honda informed Preston that AHM would not cover the repairs under the

NVLW. Instead, AHM’s authorized dealership representatives advised Preston he should make

an insurance claim, which Preston did, forcing him to incur a $500.00 deductible.

       29.     On or about May 10, 2017, Plaintiff Penelope Turgeon leased a 2017 Honda Civic

Hatchback, VIN SHHFK7H23HU221574, at Fletcher Jones Honda in Berwyn, Illinois for an

agreed upon price of $19,127.21.

       30.     Turgeon obtained her Civic for general personal, family, and household use.

       31.     Turgeon viewed materials at the dealership that promoted AHM’s 3-year/36,000

mile NVLW.      These materials included a vehicle window sticker, dealership signage, and

paperwork included in her deal jacket.


                                                6
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 7 of 21 PageID #:1806




       32.     Turgeon relied on AHM’s NVLW – and the absence of any warning regarding

rodent incidents – as an assurance of quality and promise that covered parts would be protected

by the warranty. In fact, Turgeon relied on AHM’s written statements regarding the length and

duration of the NVLW when deciding to purchase the subject vehicle. Turgeon also relied on

Defendant’s written statements that every new Honda vehicle was covered by the NVLW

(excepting the tires, which are separately warranted by the tire manufacturer), meaning that the

wire harnesses associated with the vehicle’s power steering system and contained within the

engine compartment are covered parts.

       33.     In July of 2017, within the 3-year/36,000 mile AHM NVLW period and only two

months after bringing her new vehicle home, Turgeon’s Civic lost power steering.

       34.     Turgeon’s Civic was brought to back to Fletcher Jones Honda for service.

       35.     On or about July 14, 2017, Fletcher Jones Honda informed Turgeon there was major

damage to the Civic’s EPS harness, caused by bare wires that had been chewed through by a

rodent, as depicted below:




                                                7
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 8 of 21 PageID #:1807




       36.    Fletcher Jones Honda informed Turgeon that AHM would not cover the repairs

under the NVLW, causing her to incur charges totaling $313.28. Fletcher Jones covered the

replaced power steering wiring harness with Honda Part 4019-2317 (“Rodent Tape”) and replaced

the power steering sub harness:

16 REPLACED EPS SUB HARNESS
2017 CP 232.50 232.50
1 53682-TBA-A01 HARNESS 30.07 30.07 30.07
1 53680-TBA-A00 HARNESS, EPS 17.62 17.62 17.62
PARTS: 47.69 LABOR: 232.50 OTHER: 0.00 TOTAL LINE A: 280.19
       37.    Less than 2 weeks later, on or about July 24, 2017, Turgeon experienced another

total loss of power steering. The vehicle was towed back to Fletcher Jones and the service center

discovered the wires were re-exposed, and the EPS sub harness needed to be replaced for a second

time, as depicted below:




1 53682-TBA-A01 HARNESS                               30.07    30.07
     30.07
1 4019-2317 TAPE,RODENT 19MM 20M                      46.31    46.31
     46.31
PARTS:          76.38 LABOR:     232.50 OTHER:       0.00
TOTAL LINE A:   308.88
1278 FOUND POWER STEERING GEAR BOX WIRE HARNESS DAMAGED BY RODENTS.

                                               8
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 9 of 21 PageID #:1808




1.50 WRAP NEW WIRE HARNESS WITH RODENTS RESISTANCE TAPE AND INSTALLED
ON THE GEAR BOX

       38.    Once again, Fletcher Jones informed Turgeon the repairs were not covered under

the NVLW, causing Turgeon to pay another $163.87 (after insurance covered the remaining

portion), including $46.31 for Fletcher Jones to apply more Rodent Tape.

       39.    The wire harnesses associated with Preston and Turgeon’s power steering system

are covered components under the AHM NVLW, but AHM omitted informing Preston and

Turgeon prior to purchase that such wire harnesses were attractive and accessible to rodents. In

fact, any resulting damage caused by rodents chewing would always be excluded from warranty

coverage.

       40.    Preston and Turgeon became aware that multiple other Honda vehicles were chewed

in the same manner as theirs and that AHM’s universal policy was to deny warranty coverage, even

though the NVLW covers power steering components and there was no warning regarding the

high incidence rates of rodent damage to that component’s wiring.

       41.     The rodent damage and required attendant repairs substantially impaired the

Plaintiffs’ vehicles’ use and value.

       42.     AHM’s NVLW contains an exclusion for “acts of nature” but no statement that

such exclusion applies to rodent incidents. AHM does not define what it means by “acts of nature”

in its General Warranty Provisions. Among the definitions one can find, none encompass AHM’s

position, which is to claim an event that is well known is somehow unpredictable. AHM knows

where rodents nest and chew, knows where rodents are able to enter the engine compartment

through known, specific access points, and knows there are specific types of harnesses that are

more susceptible to chewing.       Compare, e.g., 2019 WebFinance, Inc. Business Dictionary,

“Inevitable, unpredictable, and unreasonably severe event caused by natural forces without any

                                               9
   Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 10 of 21 PageID #:1809




 human interference, and over which an insured party has no control, such as an earthquake, flood,

 hurricane, lightning, snowstorm;” Wikipedia, “Natural disaster, generally. A legal term used in

 contracts, synonymous with the legal term an act of God.” AHM’s warranty provides no other

 definition of the term to explain it includes rodents eating through wire harnesses AHM knows are

 commonly chewed.

        43.     Plaintiffs’ complaints are substantially similar or materially identical to the

 complaints of other Honda vehicle owners.

        44.     Hundreds of Honda vehicle owners called AHM directly to complain about

 expensive repairs caused by rodent damage.

        45.     Plaintiffs were financially damaged due to AHM’s conduct and class members with

 Honda vehicles still in their possession are at continued risk for future damage.

        46.     As a direct and proximate result of AHM’s failure to comply with its obligation to

disclose material facts regarding its vehicles prior to sale, Plaintiffs have suffered damages and, in

accordance with 815 ILCS § 505/2, Plaintiffs are entitled to bring suit for such damages and other

legal and equitable relief.

                                    CLASS ALLEGATIONS

        47.     Plaintiffs bring this action individually and on behalf of a class.

        48.     This case is appropriate for class action treatment because Plaintiffs’ vehicles

 contained wire harnesses associated with their power steering gear boxes which, when chewed by

 rodents, are known to compromise the power steering system and lead to power steering failures.

 AHM’s universal policy was to deny repair and replacement of these wire harnesses under the

 NVLW if rodent damage was evident, even though AHM knew the harnesses were susceptible to




                                                  10
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 11 of 21 PageID #:1810




rodent attack, easily accessible, and could have been better insulated, coated or taped to protect

the wiring.

       49.     The class is defined as all persons in the State of Illinois who purchased or leased

2014 – 2017 Honda Accords or Honda Civics.

       50.     A class action is permitted and preferable in this case because the class is so

numerous that joinder of all members is impractical.

       51.     A class action is permitted and preferable in this case because there are questions

of law and fact common to the classes that predominate over any questions affecting only

individual class members. These principal questions include whether Defendant violated the ICFA

by: (a) omitting or concealing material facts about the Civic and Accord power steering gearbox

wire harness defects (due to their vulnerability to rodents and resulting safety concerns and

unexpected repair costs); (b) omitting or concealing the material fact that this common rodent

damage occurrence would not be covered by the NVLW at the time of sale; and (c) deeming the

rodent damage occurrence an “act of nature” and advising consumers in need of repair as such

when it is not commonly considered an “act of nature.”

       52.     Common questions also include: (a) whether the common occurrence of rodent

damage is a material fact such that AHM had a legal obligation to disclose to consumers that their

engine compartment wire harnesses and sub-harnesses should be covered in Rodent Tape to

withstand normal use (such as parking in their garages and driveways); (b) whether AHM had a

duty to warn that said wire harnesses may be chewed through, since rodent incidents had caused

numerous other similar model vehicles to malfunction during normal use; (c) whether AHM had

a duty to warn that repairs needed due to rodent damage to wire harnesses are not covered under

warranty and as such, AHM should have defined its purported warranty exclusion upfront; (d)



                                                11
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 12 of 21 PageID #:1811




whether AHM committed unfair acts in violation of state and federal public policy by refusing to

repair/replace chewed wire harnesses and/or installing/re-installing wire harnesses without rodent

deterrent countermeasures in place; and (e) whether AHM unfairly refused to repair parts and

breakdowns without pre-sale notice to consumers.

       53.     Plaintiffs’ claims are typical of the claims for all class members, as they arise from

the same operative facts and are predicated on the same legal theories.

       54.     There are no individual questions of fact, other than whether a class member

purchased or leased a class vehicle, which can be determined by a ministerial inspection of

Defendant’s records.

       55.     Plaintiffs will fairly and adequately protect the interests of the class members.

Plaintiffs are committed to vigorously prosecuting this matter and have retained counsel

experienced in handling class actions and unfair business practices claims. Neither Plaintiffs nor

counsel for Plaintiffs have any interests that might cause them to not vigorously pursue this claim.

       56.     This action should be maintained as a class action as the prosecution of separate

actions by individual class members would create a substantial risk of inconsistent or varying

adjudications with respect to individual class members. Furthermore, the prosecution of separate

actions could result in adjudications of individual members’ claims that could be dispositive of the

interests of other members not parties to the adjudications or could substantially impair and/or

impede the ability of such individuals to protect their interests.

       57.     A class action is a superior method for the fair and efficient adjudication of this

controversy. There is interest in the class members to determine a uniform diminished value or

reimbursed repair costs for their vehicles and forcing class members to litigate their claims

individually against AHM is economically impracticable.



                                                  12
  Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 13 of 21 PageID #:1812




               COUNT I -- VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
                      AND DECEPTIVE BUSINESS PRACTICES ACT

         58.    Plaintiffs reincorporate all preceding paragraphs as if set forth fully in this Count.

         59.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”) states

in relevant part:

         Sec. 2. Unfair methods of competition and unfair or deceptive acts or practices,
         including but not limited to the use or employment of any deception fraud, false
         pretense, false promise, misrepresentation or the concealment, suppression or
         omission of any material fact, with intent that others rely upon the concealment,
         suppression or omission of such material fact, or the use or employment of any
         practice described in Section 2 of the “Uniform Deceptive Trade Practices Act”,
         approved August 5, 1965 [815 ILCS 510/2], in the conduct of any trade or
         commerce are hereby declared unlawful whether any person has in fact been
         misled, deceived or damaged thereby. In construing this section consideration
         shall be given to the interpretations of the Federal Trade Commission and the
         federal courts relating to Section 5 (a) of the Federal Trade Commission Act.

         815 ILCS 805/2.

         60.    Plaintiffs and all proposed class members are protected by the ICFA in that they

are “consumers,” defined as, “any person who purchases or contracts for the purchase of

merchandise not for resale in the ordinary course of his trade or business but for his use or that of

a member of his household.” 815 ILCS 505/1e.

         61.    AHM’s distribution of the class vehicles occurred within the course of Illinois trade

or commerce as, “[t]he terms “trade” and “commerce” mean the advertising, offering for sale, sale,

or distribution of any services and any property, tangible or intangible, real, personal or mixed,

and any other article, commodity, or thing of value wherever situated, and shall include any trade

or commerce directly or indirectly affecting the people of this State.” 815 ILCS 505/1f.

         62.    AHM committed the following unfair acts, among others, in violation of 815 ILCS

505/2:




                                                  13
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 14 of 21 PageID #:1813




               A)      Prior to the sale of the class vehicles, AHM received multiple complaints

and repair requests involving chewed-through wire harnesses connected to or contained within

Honda vehicles’ engine compartments and specifically, associated with the power steering

gearbox. AHM knew, based upon previous studies and tests performed, that certain subharnesses

were attractive to rodents for chewing, and that its engine compartment provided access points for

rodents to nest and chew. In fact, AHM ordered that certain subharnesses be wrapped in Rodent

Tape as part of the mass production of specific Honda vehicles due to rodent accessibility concerns

and rodent testing that had been performed on specific wire harnesses.

               B)      Despite AHM’s knowledge based on consumer complaints, repair requests,

and previously performed studies and tests, AHM continued to do nothing to protect the class

vehicles’ wiring prior to purchase and continued its company protocol to refuse repair or

replacement of the defective parts.

               C)      AHM omitted telling consumers prior to purchase or lease that it would not

cover repairs caused by its own failure to protect vulnerable wiring under its express warranty,

citing its undefined “act of nature” exclusion.

               D)      AHM omitted telling consumers prior to purchase or lease that they could

use Honda Part No. 4019-2317 Rodent Tape to deter rodents and avoid expensive repairs.

               E)      AHM omitted telling consumers prior to purchase or lease that they would

be responsible for their own costs associated with vehicular damage caused by rodent attacks when

AHM knew its vehicles’ wire harnesses should be “extra-coated” with Rodent Tape.

               F)      AHM unfairly refused to repair damage caused by rodent attacks by

misrepresenting that said attacks were disqualified from coverage as an “act of nature,” even




                                                  14
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 15 of 21 PageID #:1814




though such term is not defined in the NVLW and the ordinary definition of the term does not

apply to these expected, known, and studied events.

       63.     The class vehicles were all sold with a NVLW warranty for 3 years or 36,000 miles.

The NVLW warranty guarantees that the vehicle will be free from defect in parts and

workmanship, such that if there is a malfunction of any covered part, AHM will fix the vehicle

and/or replace the part, free of charge.

       64.     A new vehicle warranty is an important incentive for any purchaser or lessor of a

new vehicle in the United States. AHM touts that its vehicles are the safest, most reliable, and the

most trustworthy, and AHM provides its warranty as a means of conveying that trust. The NVLW

is AHM’s way of telling the public that they can trust the vehicle, because AHM stands by it, and

will back its word with free repairs.

       65.     AHM uses no other means of selling its vehicles to consumers than through its

authorized Honda automobile dealerships. While these dealerships are not specifically owned by

AHM, AHM provides dealership training for the sale of its vehicles, provides training for the repair

of its vehicles, monitors the vehicles once they are sold and on the road through its Market Quality

department, and provides marketing and advertising materials to its authorized dealerships.

Moreover, AHM’s logo is placed throughout selling dealerships and in the dealership’s repair

facilities such that a customer entering a dealership or repair facility would make no mistake as to

which company backs the warranty and the vehicles’ parts and workmanship.

       66.     AHM places brochures, flyers, and other written marketing materials throughout

its authorized dealerships. These marketing materials tout the 3 year/36,000 mile NVLW and the

safety and reliability of new Honda vehicles regarding breakdowns or malfunctions. AHM




                                                15
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 16 of 21 PageID #:1815




authorizes stickers and decals to be placed on the Honda vehicles offered for sale or lease which

promise that the vehicle is covered for mechanical breakdowns for 3 years or 36,000 miles.

       67.     AHM approved “window decals” (commonly referred to as a Monroney sticker)

for placement on Honda vehicles to be viewed prior to purchase.

       68.     These decals advertised the 3-year/36,000 mile warranty term but without specifics

as to the warranty’s limitations.

       69.     Information regarding AHM’s NVLW promise is also contained within the deal

jacket documents provided to consumers as part of their sale and lease transactions and the AHM

warranty booklet is provided to consumers upon delivery of their new vehicles.

       70.     As part of their vehicle transactions, Plaintiffs did in fact see, view, and rely upon

the above-described marketing and purchase/lease materials that touted AHM’s reliability and

promised coverage in case of a breakdown or defective part or workmanship.

       71.     Prior to the vehicle transactions involving Plaintiffs and the class members, AHM

knew that engine compartment room wiring harnesses and subharnesses, including those which

carry and are associated with power steering function, were vulnerable to rodent damage and able

to be chewed through.

       72.     Once the rodents gain access to the engine compartment through known entry

points, the wire harnesses are chewed by rodents. The chewing damages the harness and/or sub-

harness which is supposed to protect the wire itself, ultimately causing the vehicle to lose power

steering and the check engine light and other warning system lights to illuminate.

       73.     The sudden loss of power or inability and difficulty in operating the steering of a

vehicle while on the roadway presents a risk of harm and bodily injury to those in the vehicle or

other vehicles on the roadway.



                                                16
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 17 of 21 PageID #:1816




       74.     A rodent attack upon wire harnesses that impact power steering control and

therefore, cause serious vehicle malfunctions is not a foreseeable event by consumers. Consumers

generally are not aware that this is a common occurrence, whereas AHM is.

       75.     Prior to Plaintiffs’ and the class members’ vehicle transactions, AHM failed to

disclose how rodent damage was not covered by the NVLW and omitted telling consumers that

their vehicle wire harnesses had a critical vulnerability.

       76.     Prior to Plaintiffs’ and the class members’ vehicle transactions, AHM was aware

that thousands of drivers had complained of rodent damage but still failed to disclose to consumers

that they should take action to protect wire harnesses from damage because necessary repairs

would not be covered under warranty.

       77.     Instead, AHM made the company-wide business decision to deny any and all such

claims under its NVLW and to not better insulate the vulnerable wiring.

       78.     AHM’s service facilities were instructed to advise consumers seeking repair of this

specific problem that this was not covered because, (a) it was considered an act of nature, or (b)

the wire harnesses and subharnesses are not considered defective in parts or workmanship.

       79.     While denying warranty claims, AHM began profiting from the repairs it forced

consumers to pay for, selling a means to repair and insulate vulnerable wire harnesses.

       80.     AHM acquired the right to sell “Rodent Tape,” a tape deemed safe for engine

compartment wiring that is laced with an ingredient called capsaicin (a strong pepper that rodents

evidently dislike based on performed studies). AHM sold the Rodent Tape to Honda service

facilities, required certain suppliers to use it, and instructed Honda service facilities to implement

Rodent Tape as a repair measure once consumers presented with rodent damage. However, AHM




                                                 17
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 18 of 21 PageID #:1817




did not instruct dealerships to promote Rodent Tape as a preventative measure to be applied before

any damage occurred at the time of sale.

       81.     AHM did not, at any time or in any way prior to the sale of the vehicles to the

Plaintiffs and the class, advise consumers that rodents were known to be able to enter the engine

compartment and chew wire harnesses, thereby causing a malfunction not covered by the

advertised warranty.

       82.     Rather, AHM, knowing that its vehicles are susceptible to rodent attacks, knowing

that it will not cover malfunctions caused by these rodent attacks under its warranty, and knowing

that it possesses Rodent Tape that could be a preventative measure from these attacks, continues

to omit these facts from consumers at any time before or during the sales process.

       83.     The following are material facts that would cause a consumer to either opt to

purchase a different vehicle, negotiate a Rodent Tape application prior to delivery, or consider

other available rodent countermeasures: (a) Honda vehicle wire harnesses are susceptible to rodent

attacks and specific harnesses have been studied and determined to be “particularly attractive” to

rodents; (b) a rodent-chewed wire harness will cause the vehicle to malfunction; (c) AHM will

disclaim all liability for the vehicle malfunction and will not agree to repair or replace the chewed

harness under the NVLW; (d) Rodent Tape was studied and found to be an effective tool for rodent

deterrence, when properly applied, and as a preventative measure to avoid wire damage.

       84.     This is not a simple breach of warranty claim because AHM engaged in a

widespread, systematic practice of engaging in unfair conduct by omission. Even though AHM

knew rodent damage claims would never be covered, it did not inform consumers of this prior to

sale and at the time of delivery of the NVLW. Further, AHM advised its dealerships how to use

Rodent Tape to deter rodents but simultaneously required that its dealerships log such repair as not



                                                 18
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 19 of 21 PageID #:1818




covered under warranty. AHM also charged dealerships for the Rodent Tape and the dealerships,

in turn, passed the tape and application costs on to the consumer. Ultimately, AHM profited from

the sale of Rodent Tape, rather than incur the cost of warranty claims or a countermeasure to

prevent rodent damage in the first place.

       85.     AHM’s failure to cover the repair expense for this known defect has a widespread

effect on consumers and implicates general consumer protection concerns. AHM’s vehicle defect

can and has caused consumer purchasers to incur thousands of dollars in repair costs, insurance

deductibles or worse, increased insurance premiums, and diminished trade-in or resale value.

Consumers also experience loss of use of their vehicles during repair times.

       86.     The fact that the vehicle contains a defect that could render a vehicle inoperable is

a material fact, and consumers would not have purchased or leased the vehicles as is had they been

informed that, (a) the vehicle wire harnesses associated with power steering function were able to

be accessed and chewed through by rodents, (b) rodents were less likely to chew through wire

harnesses pre-wrapped in Rodent Tape, and (c) necessary repair or replacement of the defective

wire harness was excluded from warranty coverage.

       87.     AHM’s conduct causes and has the potential to continue to cause substantial harm

to consumers and generally implicates consumer protection concerns. Sudden loss of power

steering presents a safety issue on the roadway. Because the vehicle’s power steering system is

responsible for making the steering wheel responsive and easier to turn, the loss of power steering

can be dangerous, especially if the consumer has never driven without power steering before.

       88.     At the time the vehicles were leased or sold to the Plaintiff and the class members,

AHM knew that a vehicle condition existed whereby its engine compartment wire harnesses were

easily accessible to rodents and susceptible to being completely chewed through.              AHM



                                                19
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 20 of 21 PageID #:1819




nonetheless failed to advise consumers that it would not cover necessary repairs under warranty

and further, failed to advise consumers that a known safety hazard was present, even while: (a)

otherwise representing that its warranty would cover all defects and nonconformities in the vehicle;

and (b) providing seemingly otherwise exhaustive vehicle safety reminders and information.

       89.     But for AHM’s unfair acts, Plaintiffs and the class members could have decided to

protect their vehicles before a rodent incident, perform research as to rodent-related complaints

and select another vehicle, or take additional precautions. AHM’s unfair conduct further causes

consumers to be deprived of necessary vehicle safety and reliability information.

       90.     AHM knows about the problem, asks consumers to pay for the problem, and

distributed vehicles for sale or lease without addressing the problem, even while promoting

protection it knew did not exist under its NVLW, a violation of Illinois public policy.

       91.     AHM’s unfair conduct was done with the intent that Plaintiffs and the class

members would rely on AHM’s safety and quality assurances and the terms of the NVLW when

purchasing or leasing their vehicles. Defendant knew that Plaintiff and the class members may

not have purchased or leased their vehicles or at minimum, would have purchased Rodent Tape or

otherwise protected their wire harnesses against rodent attacks.

       92.     Defendant’s actions implicate consumer protection concerns, are immoral,

unethical or unscrupulous, and violate public policy.

       93.     As noted in Section 2 of the ICFA, practices that violate the Uniform Deceptive

Trade Practices Act are violations of the ICFA. The Uniform Deceptive Trade Practices Act states:

(a) A person engages in a deceptive trade practice when, in the course of his or her business,

vocation, or occupation, the person: (5) represents that goods or services have sponsorship,

approval, characteristics, ingredients, uses, benefits, or quantities that they do not have or that a



                                                 20
 Case: 1:22-cv-01777 Document #: 103 Filed: 04/12/22 Page 21 of 21 PageID #:1820




person has a sponsorship, approval, status, affiliation, or connection that he or she does not have;

(7) represents that goods or services are of a particular standard, quality, or grade or that goods are

a particular style or model, if they are of another.

       WHEREFORE, pursuant to 815 ILCS 505/10, Plaintiffs pray for relief against Defendant

for its violations of the Illinois Consumer Fraud and Deceptive Business Practices Act and requests

actual damages, punitive damages, injunctive or other equitable relief to which Plaintiffs and the

members of any certified class may be entitled, all attorney fees, expert fees and court costs

incurred during the commencement and prosecution of this matter, and all other relief deemed just

and appropriate by this Court.


                                                               Respectfully submitted,

                                                        By:     /s/ Stacy M. Bardo
                                                                Attorney for Plaintiffs

   Dated: April 12, 2022

   Larry P. Smith
   SMITHMARCO, P.C.
   55 W. Monroe Street, Suite 1200
   Chicago, IL 60603
   Telephone:     (312) 324-3532
   Facsimile:     (888) 418-1277
   E-Mail:        lsmith@smithmarco.com

   Stacy M. Bardo
   Bardo Law, P.C.
   22 West Washington Street, Suite 1500
   Chicago, Illinois 60602
   Telephone:     (312) 219-6980
   Facsimile:     (312) 219-6981
   E-Mail:        stacy@bardolawpc.com




                                                  21
